        Case 1:13-cr-00485-CM Document 32 Filed 02/08/17 Page 1 of 6   1
     H1BHJABC

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                v.                                13 CR 485 (CM)

5
     FAOUZI JABER and ALI FAYAD,
6
                                                   Conference
7                     Defendant.

8    ------------------------------x

9                                                  New York, N.Y.
                                                   January 11, 2017
10                                                 4:05 p.m.

11
     Before:
12
                             HON. COLLEEN MCMAHON,
13
                                                   District Judge
14
                                   APPEARANCES
15
     PREET BHARARA
16        United States Attorney for the
          Southern District of New York
17   GEORGE D. TURNER
          Assistant United States Attorney
18
     FEDERAL DEFENDERS OF NEW YORK
19        Attorneys for Defendant Jaber
     JONATHAN MARVINNY
20
     LOUIS G. ADOLFSON
21        Attorney for Defendant Fayad

22    ALSO PRESENT:     MARWAN ABDEL-RAHMAN, Interpreter (Levantine
     Arabic)
23

24

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        Case 1:13-cr-00485-CM Document 32 Filed 02/08/17 Page 2 of 6       2
     H1BHJABC

1               (Case called)

2               MR. TURNER:    Good afternoon.    George Turner for the

3    government.

4               THE COURT:    Good afternoon, Mr. Turner.

5               MR. MARVINNY:    Good afternoon.    Federal Defenders of

6    New York by Jonathan Marvinny.       I'm standing in for Sabrina

7    Shroff, who's on trial.

8               MR. ADOLFSON:    Judge, Louis Adolfson for Ali Fayad.

9               THE INTERPRETER:    Your Honor, can I have a minute to

10   fix the equipment?

11              THE COURT:    You certainly may have a minute to fix the

12   thing.

13              MR. TURNER:    Your Honor, I have not previously spoken

14   to --

15              THE COURT:    Hang on.   Hang on.   We're going to fix

16   this up.

17              MR. TURNER:    It is a 13 CR.

18              THE DEPUTY CLERK:    Start from the top, Judge.

19              THE COURT:    We've got the appearances.

20              So here we are.    What's going on, Mr. Turner?

21              MR. TURNER:    Your Honor, there were three defendants

22   indicted in this case.      The only defendant who is here is

23   Mr. Jaber.    He was extradited in April of this past year, 2016.

24   Discovery has been produced, and it was the government's

25   intention to ask for at least a motion schedule today from the


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        Case 1:13-cr-00485-CM Document 32 Filed 02/08/17 Page 3 of 6         3
     H1BHJABC

1    Court.

2              As I understand it, Mr. Adolfson represents Ali Fayad,

3    who is one of the other two defendants in this case.          An

4    extradition request for the other two defendants is pending and

5    has been pending for some time.       Those two defendants are in

6    Lebanon, your Honor.

7              THE COURT:    Hi, counsel.    How are you?

8              MR. ADOLFSON:    Well, your Honor.

9              THE COURT:    But your client is not here?

10             MR. ADOLFSON:    He's not here.     He's not here.      His

11   extradition was denied by the Czech Republic, and he was sent

12   to Lebanon.    My understanding, Mr. Turner, was that the

13   Lebanese government, which does not have an extradition treaty

14   with the United States but, nonetheless, complies with

15   requests, has denied extradition.

16             THE COURT:    Has what?

17             MR. ADOLFSON:    Denied extradition.

18             THE COURT:    Well, I'm going forward with Mr. Fayad.

19   I'm sorry.    Going forward with Mr. Jaber on the theory I have

20   one defendant here.     I don't have the two other defendants.

21   I'm not waiting for them.

22             MR. TURNER:    Particularly given the timing and the

23   long period of time that the extradition requests have been out

24   there, your Honor, the government agrees with that approach.

25             THE COURT:    Right.


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        Case 1:13-cr-00485-CM Document 32 Filed 02/08/17 Page 4 of 6          4
     H1BHJABC

1              MR. ADOLFSON:    Your Honor, can I be heard briefly?

2              THE COURT:    On that?

3              MR. ADOLFSON:    No, not on that subject.

4              THE COURT:    What would you like me to do?

5              MR. ADOLFSON:    I've tried once before, and I'm

6    required to tell you.     Once before I was in the Southern

7    District for Mr. Fayad when he was in the Czech Republic, and I

8    asked Judge Castel, he was on Part 1, to issue an order

9    directing the U.S. Attorney's Office to appear for deposition

10   in Lebanon.    He denied my request and said that he had no

11   jurisdiction because Mr. Fayad was not here and that I should

12   inform any judge of his decision.       So I'm informing you right

13   now that that happened.

14             THE COURT:    Fine.   Let's talk about what this case is

15   really about.    This case is about Mr. Jaber.       It's not about

16   anybody else or anything else.       I realize Ms. Shroff is the

17   lawyer on the case, but I have to set a motion schedule and

18   this case has to start to move.

19             MR. MARVINNY:    That's fine, Judge.

20             THE COURT:    It's a very old case.     Do you have any

21   idea, Mr. Marvinny, what motions Ms. Shroff might be

22   contemplating?

23             MR. MARVINNY:    I'm sorry.    I'm sorry, your Honor.      I

24   don't.   I know she asked for a motion schedule.

25             THE COURT:    I'm comfortable setting one.       I'm not


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     H1BHJABC

1    comfortable not setting one.      So she's currently on trial.    Do

2    we know how long that's going to be?

3              MR. MARVINNY:    Supposed to be a two- to three-week

4    trial, your Honor.     It started on Monday.

5              THE COURT:    All right.    Defense motions by

6    February 10.    Government response by March 3.       Defense reply by

7    March 10.

8              THE DEPUTY CLERK:     Let's pop it on for March 23 at

9    3:45.

10             THE COURT:    Thursday, March 23, at 3:45.       Time

11   excluded in the interest of justice, the defendant's interest

12   in a speedy trial being outweighed by the need or desire of his

13   counsel to make motions to the Court.        And, obviously, that's

14   all statutorily excluded time.

15             MR. MARVINNY:    Yes, your Honor.     May I have one moment

16   before you adjourn this?

17             THE COURT:    Of course.

18             MR. MARVINNY:    Thank you.

19             (Pause)

20             MR. MARVINNY:    Your Honor.

21             THE COURT:    Yes.

22             MR. MARVINNY:    I think Mr. Jaber wishes to address the

23   Court.   I think it's not consistent with my advice, but I don't

24   think he's going to be doing himself any harm.         I believe he

25   wants to represent to the Court that the other two defendants


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     H1BHJABC

1    have been released and are free in Lebanon.

2              THE DEFENDANT:    The Lebanese Minister of Justice

3    refused to surrender the two other defendants to the United

4    States government.     They set them free in Lebanon.       And the

5    brother of Fayad also was released.       He was one of the

6    kidnappers or the hijackers.

7              THE COURT:    Okay.   Then, Mr. Jaber, you'll just have

8    to face this all by yourself, because I'm not releasing you

9    until after your trial and you're acquitted.

10             THE DEFENDANT:    Of course.

11             THE COURT:    So the fate of the other gentlemen is

12   really of no particular interest to me.        This is your case, and

13   yours alone, as far as I'm concerned.

14             MR. MARVINNY:    Thank you, your Honor.

15             THE DEFENDANT:    I just wanted to save the Court some

16   time by bringing this information to the Court's attention.

17             THE COURT:    Thank you.    Fortunately, all my time is

18   for Mr. Jaber.    Great.

19             (Adjourned)

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